            Case 2:17-cv-00856-MJP Document 46 Filed 08/28/18 Page 1 of 3



 1                                               THE HONORABLE MARSHA J. PECHMAN
 2

 3

 4

 5

 6
                               UNITED STATES DISTRICT COURT
 7                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
 8
      HARLEY MARINE SERVICES, INC., a
 9    Washington corporation; OLYMPIC TUG &                IN ADMIRALTY
      BARGE, INC., a Washington corporation,
10    PACIFIC COAST MARITIME, INC.                         NO. 2:17-cv-00856-MJP
11
                            Plaintiffs,                    STIPULATED MOTION AND
12                                                         ORDER TO DISMISS WITH
      v.                                                   PREJUDICE
13
      FATHOM MARINE, INC., a British Columbia              NOTE ON MOTION CALENDAR:
14    corporation, FATHOM ENERGY, INC., an                 August 27, 2018
15    Alberta corporation,

16                          Defendants.

17
            Plaintiffs, Harley Marine Services, Inc., Olympic Tug & Barge, Inc. and Pacific Coast
18
     Maritime, Inc.; and Defendants, Fathom Marine, Inc. and Fathom Energy, Inc., through their
19
     undersigned counsel, stipulate and agree that all claims and counterclaims asserted by them
20
     against each other are fully resolved and the above captioned lawsuit should be dismissed with
21
     prejudice and without an award of costs to any party. The parties therefore jointly move for an
22
     order of dismissal with prejudice and without award of costs or fees.
23
            DATED this 27th day of August, 2018.
24
     //
25
     //
26



     STIPULATED MOTION AND ORDER TO
     DISMISS WITH PREJUDICE - 1
     2:17-cv-00856-MJP
            Case 2:17-cv-00856-MJP Document 46 Filed 08/28/18 Page 2 of 3



 1   BAUER MOYNIHAN & JOHNSON LLP                    NICOLL BLACK & FEIG PLLC
 2   via email authorization 8/27/18
 3

 4   /s/ Mark A. Krisher                             /s/ Christopher W. Nicoll
     Thomas G. Waller, WSBA No. 22963                Christopher W. Nicoll, WSBA No. 20771
 5   Mark A. Krisher, WSBA No. 39314                 Chris P. Reilly, WSBA No. 25585
     Robert D. Sykes, WSBA No. 49635                 Attorneys for Defendants Fathom Marine,
 6   Attorneys for Plaintiffs Olympic Tug &          Inc. and Fathom Energy, Inc.
     Barge, Inc., Harley Marine Services, Inc.
 7
     and Pacific Coast Maritime, Inc.
 8

 9                                               ORDER
10          Pursuant to the above stipulated motion, the above captioned lawsuit is DISMISSED
11   WITH PREJUDICE and without an award of fees or costs to any party.
12          IT IS SO ORDERED.
13          DATED this _28th_ day of ___August___, 2018.
14

15

16                                                       A
                                                         The Honorable Marsha J. Pechman
17
                                                         United States Senior District Court Judge
18

19

20

21

22

23

24

25

26



     STIPULATED MOTION AND ORDER TO
     DISMISS WITH PREJUDICE - 1
     2:17-cv-00856-MJP
            Case 2:17-cv-00856-MJP Document 46 Filed 08/28/18 Page 3 of 3



 1                                   CERTIFICATE OF SERVICE
 2          I hereby certify that on the date set forth below, I electronically filed the foregoing with
 3   the Clerk of the Court using the CM/CF system which will send notification of such filing to
 4   the following:
 5     Thomas G. Waller
       Mark A. Krisher
 6
       Robert D. Sykes
 7     BAUER MOYNIHAN & JOHNSON LLP
       2101 Fourth Avenue, Suite 2400
 8     Seattle, WA 98121
       Telephone: (206) 443-3400
 9     Fax: (206) 448-9076
       E-mail: tgwaller@bmjlaw.com
10
       E-mail: makrisher@bmjlaw.com
11     E-mail: rsykes@bmjlaw.com
       Attorneys for Plaintiffs Olympic Tug & Barge,
12     Inc. and Harley Marine Services, Inc
13

14          DATED this 27th day of August, 2018.
15
                                                   /s/ Christopher W. Nicoll
16                                                 Christopher W. Nicoll, WSBA No. 20771
17

18

19

20

21

22

23

24

25

26



     STIPULATED MOTION AND ORDER TO
     DISMISS WITH PREJUDICE - 2
     2:17-cv-00856-MJP
